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 1
                                                          Magistrate Judge Brian A. Tsuchida
 2
 3
 4
 5
 6
 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                        CASE NO. MJ22-160
11
                             Plaintiff
                                                       COMPLAINT for VIOLATIONS OF
12
13                                                     Title 18, United States Code, Sections 371 &
                        v.
                                                       2320(a)(1)
14
      ROBERT VAN CAMP,
15
                             Defendant.
16
17         BEFORE, Brian A. Tsuchida, United States Magistrate Judge, U.S. Courthouse,
18 Seattle, Washington.
19         The undersigned complainant being duly sworn states:
20                                            COUNT ONE
21                           (Conspiracy to Defraud the United States)
22         From in or around April 2021 through in or around April 2022, at King County, in
23 the Western District of Washington, and elsewhere, defendant ROBERT VAN CAMP
24 knowingly and intentionally conspired and agreed with Co-Conspirator-1 and others,
25 known and unknown, to defraud the United States by impairing, impeding, obstructing,
26 and defeating through deceit, craft, trickery, and dishonest means, the lawful government
27 functions of the United States Department of Health and Human Serv
28 Centers for Disease Control and Preven
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 1 respectively, of the United States, in the administration and distribution of COVID-19
 2 vaccines and COVID-19 vaccination record cards, and the lawful government functions of
 3 other departments and agencies of the United States in administering and enforcing the
 4
 5         A.       Purpose of the Conspiracy
 6                  It was the purpose of the conspiracy for VAN CAMP, Co-Conspirator-1, and
 7 their co-conspirators to (a) fraudulently obstruct the gove
 8 distribution of COVID-19 vaccines and the                             employee vaccination
 9 mandate, and to interfere with                                 functions to administer the
10 COVID-19 vaccines and ensure that all COVID-19 vaccines are accompanied by genuine
11 COVID-19 vaccination record cards; and (b) conceal the manufacturing, distribution, and
12 use of false and fraudulent COVID-19 vaccination record cards, and the receipt and transfer
13 of the proceeds of the conspiracy.
14         B.       Manner and Means of the Conspiracy
15                  The dishonest and deceitful manner and means by which VAN CAMP, Co-
16 Conspirator-1, and others sought to accomplish the purpose and object of the conspiracy
17 included, among other things, the following:
18                         VAN CAMP and Co-Conspirator-1 obtained an electronic copy of a
19 blank COVID-19 vaccination record card.
20                         The blank COVID-19 vaccination record card obtained by VAN
21 CAMP and Co-Conspirator-1 appeared visually identical to the official COVID-19
22 vaccination record cards designed and distributed by the CDC and in
23
24                         VAN CAMP and others used the blank COVID-19 vaccination record
25 card to make hundreds of false and fraudulent COVID-19 vaccination cards.
26                         In making the false and fraudulent COVID-19 vaccination record
27 cards, VAN CAMP and others intentionally made the false and fraudulent cards appear
28 visually indistinguishable from the official COVID-19 vaccination record cards designed
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 1 and distributed by the CDC, including by printing them in the same size and by using
 2 similar paper and ink, as official CDC vaccination record cards, and by printing them with
 3                            al government logos.
 4                         VAN CAMP sold the false and fraudulent COVID-19 vaccination
 5 record cards for profit to purportedly unvaccinated persons, including Buyer-1, Buyer-2,
 6 and others, including several law enforcement officers acting in an undercover capacity,
 7
 8
 9                         VAN CAMP also sold the false and fraudulent COVID-19
10 vaccination record cards for profit to individuals who served as distributors for VAN
11
12                         VAN CAMP facilitated the sale of the false and fraudulent COVID-
13 19 vaccination record cards by communicating with buyers and distributors through the
14 use of interstate wire communications, including by telephone, text message, and email.
15                         Before distributing the false and fraudulent COVID-19 vaccination
16 record cards, VAN CAMP instructed buyers and distributors to provide him the names,
17 dates of birth, and desired vaccination dates to write on the false and fraudulent vaccination
18 record cards.
19                         VAN CAMP further instructed buyers and distributors to either
20 identify a legitimate local CDC-authorized COVID-19 vaccination provider, or provide
21 VAN CAMP with location information so that he could identify a local CDC-authorized
22 COVID-19 vaccination provider, such as a hospital or pharmacy, to make the vaccination
23 record cards falsely appear as if the purchaser had received a United States Food and Drug
24                                         vaccine from a legitimate vaccination provider.
25                         VAN CAMP also directed buyers and distributors to send him
26 photographs of legitimate COVID-19 vaccination record cards so that he could obtain
27 vaccination lot numbers from authentic COVID-19 vaccination record cards, issued by
28 CDC-authorized providers, to make the cards falsely appear as if the purchaser had
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 1 received an FDA-approved vaccine with an authentic lot number.
 2                         VAN CAMP used the information provided by buyers and
 3 distributors, and the information he obtained on his own regarding CDC-authorized
 4 vaccination providers and vaccination lot numbers, to completely fill out the false and
 5 fraudulent cards before distributing them to their intended recipients, including writing real
 6 names and dates of birth on the cards, along with inserting false information concerning
 7 vaccination dates, vaccination providers, vaccination sites, vaccination manufacturers, and
 8 vaccination lot numbers.
 9                         VAN CAMP distributed hundreds of completed false and fraudulent
10 COVID-19 vaccination record cards to purchasers in the Western District of Washington,
11 and elsewhere, including by mailing the false and fraudulent cards to buyers and
12 distributors located in the Western District of Washington and elsewhere.
13                         VAN CAMP sold and distributed false and fraudulent COVID-19
14 vaccination record cards to federal employees who were required to be vaccinated against
15 COVID-19 pursuant to the federal employee vaccination requirement.
16                         VAN CAMP and Co-Conspirator-1 made thousands of dollars from
17 the sale of false and fraudulent COVID-19 vaccination record cards to purchasers in the
18 Western District of Washington and elsewhere, including by receiving payments for the
19 false and fraudulent vaccination record cards made in cash, by check, by money order, and
20 through a Venmo account held
21                         In order to conceal and disguise the scheme, VAN CAMP used, and
22 directed others to use, code names when communicating about the false and fraudulent
23 COVID-19 vaccination record cards, such as
24
25 payments made to VAN CAMP and Co-Conspirator-1 for the false and fraudulent
26 vaccination record cards, including on payments made in the Western District of
27 Washington.
28                         To further conceal and disguise the scheme, VAN CAMP instructed
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 1 buyers and distributors to delete their communications with him regarding the false and
 2 fraudulent COVID-19 vaccination record cards.
 3         C.       Overt Acts in Furtherance of the Conspiracy
 4                  In furtherance of the conspiracy, and to accomplish its objects and purpose,
 5 the conspirators committed and caused to be committed, at King County, in the Western
 6 District of Washington, and elsewhere, the following overt acts, among others:
 7                         On or about April 14, 2021, VAN CAMP forwarded via email an
 8 electronic file of a blank COVID-19 vaccination record card to Printer-1, a printing and
 9 shipping store, for the purpose of having false and fraudulent COVID-19 vaccinations
10 record cards printed, noting in the email that he received the blank COVID-19 vaccination
11 record card from Co-Conspirator-1.
12                         On or about September 20, 2021, VAN CAMP sold five completed
13 false and fraudulent COVID-19 vaccination record cards to UC1.
14                         On or about September 29, 2021, VAN CAMP mailed five completed
15 false and fraudulent vaccination record cards to UC2.
16                         On or about October 7, 2021, VAN CAMP mailed completed false
17 and fraudulent COVID-19 vaccination record cards to Buyer-1, to an address in Burien,
18 Washington, in the Western District of Washington.
19                         On or about December 7, 2021, VAN CAMP mailed additional
20 completed false and fraudulent COVID-19 vaccination record cards to Buyer-1 to the same
21 address in Burien, Washington, in the Western District of Washington.
22                         On or about January 26, 2022, VAN CAMP mailed a completed false
23 and fraudulent COVID-19 vaccination record card to Buyer-2, to an address in
24 Woodinville, Washington, in the Western District of Washington.
25                         On or about March 7, 2022, VAN CAMP mailed a completed false
26 and fraudulent vaccination record card to UC3.
27                         On or about April 11, 2022, VAN CAMP mailed a completed false
28 and fraudulent COVID-19 vaccination record card to UC4, to an address in Seattle,
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 1 Washington, in the Western District of Washington.
 2         All in violation of Title 18, United States Code, Section 371.
 3                                           COUNT TWO
 4                               (Trafficking in Counterfeit Goods)
 5         On or about April 11, 2022, at Seattle, in the Western District of Washington, and
 6 elsewhere, defendant ROBERT VAN CAMP did intentionally traffic in goods, specifically
 7 a false and fraudulent COVID-19 vaccinatio
 8 logo, knowingly using a counterfeit mark, namely U.S. Trademark Registration 6672285,
 9 on and in connection with such goods.
10         In violation of Title 18, United States Code, Section 2320(a)(1).
11         And the complainant states that this Complaint is based on the following
12 information:
13         I, LUSILLA PACHECO, being first duly sworn on oath, depose and say:
14         1.       I am a Special Agent of the United States Department of Health and Human
15
16 Region and based in the Denver Field Office. I have been employed as an HHS-OIG
17 Special Agent since 2016. My duties as a Special Agent include conducting criminal and
18 civil investigations involving programs and operations of HHS, including both Medicare
19 and Medicaid fraud. I have investigated criminal violations against the United States,
20 including numerous and varied health care-related crimes. I have also attended basic and
21 continued training on federal laws and have effectuated a wide range of law enforcement
22 methods when conducting criminal and civil investigations.
23         2.       The information contained in this Complaint is the result of my own
24 investigation as well as information provided to me by others, including other investigators
25 and law enforcement officers. In each instance when I recite information from such others,
26 I have gained that information either by talking directly to such investigators and law
27 enforcement officers or by reviewing written reports of their investigation, or both. This
28 Complaint accurately summarizes some of the evidence I discovered during my
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 1 investigation; it does not, however, contain every detail known to me about the
 2 investigation.
 3                       FACTS ESTABLISHING PROBABLE CAUSE
 4                         The Federal COVID-19 Vaccination Program
 5         3.       In or around January 2020, the Secretary of HHS declared a national public
 6 emergency under Title 42, United States Code, Section 247d, as a result of the spread of
 7 the novel coronavirus COVID-19 within the United States. On or about March 13, 2020,
 8 the President of the United States issued Proclamation 9994 declaring a national emergency
 9 beginning on March 1, 2020, as a result of the rapid spread of COVID-19.
10         4.       To help combat COVID-19 and the resulting pandemic, in May 2020, the
11 United States initiated Operation Warp Speed, later renamed HHS-DOD COVID19
12
13 Department of Defense, and other federal agencies, which existed through December 31,
14 2021, to make safe and effective vaccines available as quickly as possible. The principal
15 purpose of CAG was to ensure that every American could receive a COVID-19 vaccine by
16 supporting the acceleration of vaccine development, manufacturing, and distribution to
17 states, other jurisdictions, and federal agencies and programs for vaccine administration.
18         5.       Upon awarding contracts and providing funding, by September 2021, the
19 federal government had acquired over 673 million doses of vaccines developed by
20 Moderna, Pfizer, and Johnson and Johnson, which was sufficient to fully vaccinate 373
21 million people, in line with                                   ng sufficient adult vaccines
22 available free of charge for the American public.
23         6.       In order to enable their rapid distribution upon the development of safe and
24 effective COVID-19 vaccines, the Secretary of HHS issued a notice, pursuant to section
25 564 of the Federal Food, Drug, and Cosmetic Act, that there was a public health emergency
26 that had a significant potential to affect national security or the health and security of
27 United States citizens living abroad and that circumstances existed justifying the
28 authorization of emergency use of drugs and biological products during the COVID-19
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 1 pandemic. Pursuant to the authority granted under this declaration, the United States Food
 2 and Drug Administration approved the Pfizer COVID-19 vaccine for emergency use on or
 3 about December 11, 2020, the Moderna COVID-19 vaccine for emergency use on or about
 4 December 18, 2020, and the Johnson and Johnson COVID-19 vaccine for emergency use
 5 on or about February 27, 2021 (tog
 6         7.       To ensure that each American could receive a COVID-19 vaccine, the CDC
 7 prepared for widespread administration, distribution, and tracking of the administration of
 8 COVID-19 vaccines. Vaccine allocation a
 9 Vaccine Tracking System (VTrckS), a secure, web-based system that integrated the entire
10 publicly funded vaccine supply chain from purchasing and ordering, through distribution
11 to participating state, local, and territorial health departments and health care providers.
12         8.       The CDC controlled the distribution of COVID-19 vaccines and COVID-19
13 vaccination record cards, distributing them only to medical providers that were eligible to
14 administer the COVID-19 vaccines.
15         9.       To be eligible to administer the COVID-19 vaccines, medical providers and
16 other administers of COVID-19 vaccines were required to enter into provider agreements
17
18         10.      Additionally, per the COVID-19 Provider Agreement, medical providers and
19 other administers of COVID-19 vaccines ag
20 completed COVID-19 vaccination record card to every COVID-19 [v]accine recipient, the
21 adult caregiver accompanying the recipient,
22
23         11.      The COVID-19 vaccination record cards were designed and printed
24 according to CDC specifications and requirements, and contained both
25 official government logos. The COVID-19 vaccination record cards recorded the name
26 and date of birth of the individual receiving the COVID-19 vaccine, the name of the
27 manufacturer of the COVID-19 vaccine administered, the date when each dose was
28 administered, the location where each dose was administered, and the lot number of the
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 1 vaccine dose. A lot number is a unique number given by vaccine manufacturers to a
 2 specific batch of a vaccine.
 3         12.      The CDC mandated that valid proof of COVID-19 vaccination, specifically,
 4 the COVID-19 vaccination record card, could only be provided to individuals by
 5 authorized providers administering COVID-19 vaccines.
 6                          Federal Employee Vaccination Requirement
 7         13.      On September 9, 2021, the President of the United States issued Executive
 8 Order 14043, Requiring Coronavirus Disease 2019 Vaccination for Federal Employees,
 9 which required all federal agencies to implement a policy requiring all federal employees
10 to be vaccinated against COVID-19. The Executive Order
11 determined that the best way to slow the spread of COVID-19 and to prevent infection by
12 the Delta variant or other varian
13 safety of the Federal workforce and the efficiency of the civil service, it is necessary to
14 require COVID-19 vaccination
15                  The Defendant and Other Relevant Individuals and Entities
16         14.      Defendant VAN CAMP was a resident of Parker, Colorado and Bulverde,
17 Texas. VAN CAMP published magazines which contained advertisements and promotions
18 from various businesses. VAN CAMP also headed the business networking associations
19 Parker Best Leads Group in Parker, Colorado, and Castle Rock Best Leads Group in Castle
20 Rock, Colorado.
21         15.      Co-Conspirator-1 was a resident of Parker, Colorado and Bulverde, Texas.
22 VAN CAMP and Co-Conspirator-1 resided together. Co-Conspirator-1 was employed by
23 a private contractor in the defense industry and had a Top Secret security clearance.
24         16.      The CDC was a federal agency under HHS. The CDC was established to
25 protect public health through the prevention of disease.
26         17.      Buyer-1 was a resident of Burien, Washington.
27         18.      Buyer-2 was a resident of Woodinville, Washington.
28
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 1                                      Overview of the Scheme
 2         19.      As described further below, evidence obtained in this investigation
 3 demonstrates that, from in or around April 2021 through in or around April 2022, VAN
 4 CAMP, Co-Conspirator-1, and others engaged in a scheme to produce, sell, and distribute
 5 false and fraudulent COVID-19 vaccination record cards to hundreds of individuals in at
 6 least a dozen states, including to individuals in the Western District of Washington.
 7 Among other things, VAN CAMP and others intentionally produced the false and
 8 fraudulent COVID-19 vaccination record cards to make them appear visually
 9 indistinguishable from the legitimate vaccination record cards designed and distributed by
10 the CDC. Furthermore, VAN CAMP filled out the false and fraudulent COVID-19
11 vaccination record cards completely before distributing them to their intended recipients,
12 inserting real names and dates of birth on the cards along with false vaccination date,
13 vaccination provider, vaccination site, vaccination manufacturer, and vaccination lot
14 number information.
15         20.      The evidence obtained in this investigation further demonstrates that VAN
16 CAMP and Co-Conspirator-1, among others, agreed to work together in advancing the
17 purpose of the conspiracy. As described herein, among other things, Co-Conspirator-1
18 obtained a blank COVID-19 vaccination record card. Co-Conspirator-1 then provided that
19 blank COVID-19 vaccination record card to VAN CAMP, which VAN CAMP then sent
20 to Printer-1 on several occasions for the purpose of having false and fraudulent COVID-
21 19 vaccination record cards printed. Based on the investigation, it appears that the blank
22 COVID-19 vaccination record card obtained by Co-Conspirator-1 served as the template
23 for the hundreds of false and fraudulent vaccination record cards produced and sold in the
24 scheme.        Moreover, Co-Conspirator-1 personally profited from the scheme because
25 numerous payments for the false and fraudulent COVID-19 vaccination record cards were
26 made to a Venmo account held by Co-Conspirator-1. In addition, at least one witness heard
27 VAN CAMP state that he had inside knowledge about COVID-19 vaccination record cards
28 because of Co-Con
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 1                                      Witness-1 and Witness-2
 2         21.      Federal agents interviewed Witness-1 and Witness-2, both of whom attended
 3 meetings of the business networking associations headed by VAN CAMP.
 4         22.      Witness-1 saw VAN CAMP offering to sell false and fraudulent COVID-19
 5 vaccination record cards at a meeting that occurred in or around April or May 2021 and
 6 observed that VAN CAMP had a pile of false and fraudulent COVID-19 vaccination record
 7 cards in his possession. Witness-1 confronted VAN CAMP at the meeting, telling VAN
 8 CAMP that he should not be selling the cards, but VAN CAMP responded that he did not
 9 care what Witness-1 thought.
10         23.      Witness-2 also saw VAN CAMP offering to sell false and fraudulent COVID
11 vaccination record cards at a separate meeting that occurred in or around March or April
12 2021. According to Witness-2, VAN CAMP had a two-inch stack of false and fraudulent
13 COVID-19 vaccination record cards and was offering to sell the cards for $17 to $20 each.
14 Witness-2 heard VAN CAMP say that he had inside knowledge about COVID-19
15 vaccination record cards because Co-Conspirator-1 had a security clearance.
16                 Sale of False and Fraudulent Vaccination Record Cards to UC1
17         24.      On or about September 13, 2021, VAN CAMP offered to sell false and
18 fraudulent COVID-19 vaccination record cards to UC1, an undercover federal agent. VAN
19                                                     ow are you guys doing that whole vaccine
20
21 know what I'm saying? Like I can hook you and all of your employees up so if anybody
22                                                     e it for about 700 of
23 CAMP told UC1 to refer to the false and fraudulent COVID-19 vaccination record cards
24                                                      cted UC1 to provide the first name, middle
25 initial, last name, and birth date of each individual who wanted to buy a false and fraudulent
26 vaccination record card. VAN CAMP told UC1
27 email address, which VAN CAMP provided to UC1.
28         25.      On or about September 20, 2021, at or near Castle Rock, Colorado, VAN
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 1 CAMP sold five false and fraudulent COVID-19 vaccination record cards to UC1, charging
 2 $600 (or $120 per card), which UC1 paid in cash. During the sale, VAN CAMP stated,
 3                                                                 been a printer for 30 years so
 4
 5                                                     the real CDC logo prin
 6 have the Pfizer lot numbers, the vials, fo
 7         26.      VAN CAMP also made the following statements to UC1,
 8 that are going to the Olympics in Tokyo, three Olympians and their coach in Tokyo,
 9 Amsterdam, Hawaii, Costa Rica, Honduras.
10 has 30 people going to Canada every fucking day, Canada back. Mexico is big. And like
11                                    so until I get caught and go to
12
13
14
15 wrong, we know this, so how
16
17         27.      VAN CAMP filled out the five false and fraudulent vaccinations record cards
18 completely before selling them to UC1, inserting the names and dates of birth previously
19 provided by UC1, together with false vaccination date, vaccination provider, vaccination
20 site, vaccination manufacturer, and vaccination lot number information.
21                 Sale of False and Fraudulent Vaccination Record Cards to UC2
22         28.      On or about September 23, 2021, VAN CAMP offered to sell false and
23 fraudulent COVID-19 vaccination record cards to UC2, another undercover federal agent.
24 VAN CAMP told UC2 that his vaccination record
25 were made with the correct paper, ink, logos, and lot numbers. After VAN CAMP
26 commented that some people were worried about the lot numbers that he was using on his
27 false and fraudulent COVID-19 vaccination r
28
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 1
 2          29.     VAN CAMP told UC2 that his false and fraudulent COVID-19 vaccination
 3                                                     Honduras, Costa Rice, Canada, France, Turks
 4 and Caicos, twelve different states, so my cards are fucking worldwide. I mean, these
 5
 6          30.     When UC2 asked VAN CAMP if the false and fraudulent COVID-19
 7 vaccination record cards would be sufficient for the digital passport, VAN CAMP stated,
 8                                                                               er sheep into putting
 9 their, their vaccine cards onto, but just like the apps that are out there,
10
11          31.
12
13                                                it, you got it from me.
14          32.     VAN CAMP then stated that he was making thirty to forty false and
15 fraudulent vaccination record cards a night and that making the cards was a full-time job.
16          33.     VAN CAMP instructed UC2 to find a pharmacy near where UC2 lived that
17 offered free COVID-19 vaccines and to provide
18 number, which UC2 later did. VAN CAMP said that it would be even better if UC2 could
19 take a photograph of a                                             ation record card so that VAN
20 CAMP could obtain an authentic vaccination lot number. VAN CAMP also instructed
21 UC2 to delete communications
22          34.     Later that same day, on or about September 23, 2021, VAN CAMP spoke
23 again with UC2. VAN CAMP asked UC2 if any of the individuals who wanted to purchase
24 the false and fraudulent COVID-19 vaccination record cards wanted particular dates listed
25 for when they purportedly received the vaccine, explaining that if any of these individuals
26 were getting on an airplane soon, the airlines prefer that the second COVID-19 dose be
27 administered fifteen days before the flight.            VAN CAMP also asked if any of the
28 individuals getting the false and fraudulent cards were married. When UC2 said that one
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 1                                                        r, VAN CAMP stated that he would create
 2 the false and fraudulent cards                                         rtner to look different from
 3 one another, so that the cards would not look like they came off an assembly line when
 4 they travelled together.
 5         35.
 6 you know the United States Post Office does not have to take the vaccine? Do you know
 7                                                        r does the fucking Congress. The Congress
 8 is exempt from the, from the vaccine. The Post Office, exempt. Are you fucking kidding
 9
10
11 war and I, and I have a lot of guns and ammo,
12
13 people need to go, like this is some evil, it literally is good versus evil, this is bad. When
14                                                           it, but we, the sheeple, have to, come on
15
16
17         36.      VAN CAMP sold five false and fraudulent COVID-19 vaccination records
18 cards to UC2, which VAN CAMP filled out completely, using information provided by
19 UC2, before mailing them to UC2 on or about September 29, 2021. VAN CAMP charged
20 UC2 $750 (or $150 per card). VAN CAMP told UC2 that UC2 could pay for the cards via
21 Venmo and provided the user-name associated with the Venmo account held in Co-
22                                                     lse and fraudulent cards using a money order.
23               Sale of False and Fraudulent Vaccination Record Cards to Buyer-1
24         37.      As described in more detail below, federal agents conducted a trash pull at
25                                                         nce on October 14, 2021.        Documents
26
27
28 vaccination record card in the name of Buyer-1, stating that Buyer-1 purportedly received
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 1 the vaccine at a specific pharmacy in Burien, Washington.
 2         38.      Shipment records obtained from a Google account belonging to VAN CAMP
 3 show that VAN CAMP mailed packages addre
 4 to an address in Burien, Washington on or about October 7, 2021 (with delivery confirmed
 5 on or about October 11, 2021) and on or about December 7, 2021 (with delivery confirmed
 6 on or about December 10, 2021).
 7         39.      In addition, records obtained from Venmo show that closely following each
 8                                     Buyer-1 in Burien, Washington
 9 October 13, 2021, and on or around De
10 transmissions, from an IP address located in the Western District of Washington, to make
11 payments of $485 and $330, respectively, to the Venmo account held in Co-Conspirator-
12
13               Sale of False and Fraudulent Vaccination Record Card to Buyer-2
14         40.      The records that federal agents obtained from VAN
15 included a photograph of a completed COVID-19 vaccination record card in the name of
16 Buyer-2, stating that Buyer-2 purportedly received the vaccine at a specific pharmacy in
17 Woodinville, Washington. The handwriting used on the vaccination record card in Buyer-
18                                                       on the vaccination record cards sold by
19 VAN CAMP to undercover federal agents.
20         41.      Shipment records obtained from VAN
21 VAN CAMP mailed a package addressed to th
22 address in Woodinville, Washington on or around January 26, 2022.
23         42.      In addition, records obtained from Venmo show that on the day before VAN
24
25                                         d a wire transmission, from an IP address located in the
26 Western District of Washington, to make a $190 payment to the Venmo account held in
27
28
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 1                 Sale of False and Fraudulent Vaccination Record Card to UC3
 2         43.      On or about February 23, 2022, VAN CAMP offered to sell a false and
 3 fraudulent COVID-19 record vaccination record card to UC3, a third undercover federal
 4 agent. VAN CAMP directed UC3 to provide a first name, middle initial, and zip code. On
 5 or about February 24, 2022, VAN CAMP then identified a CDC-authorized vaccine
 6                                                     s false and fraudulent COVID-19 vaccination
 7 record card.
 8         44.      During a phone conversation on or about February 24, 2022, VAN CAMP
 9
10 fraudulent cards. VAN CAMP further told UC3 that he mailed false and fraudulent cards
11                                                       near UC3 and described that individual as
12 one of his top producers.
13         45.      VAN CAMP subsequently said that Co-Conspirator-1 was required to
14 receive a COVID-19 vaccination as a cond
15 Conspirator-1] had a TS clearance for twenty-one years and they did not let [Co-
16 Conspirator-1] get away with it so [Co-Conspirator-1] was like fuck you and quit [the] job
17
18
19                                                      going to quit anyway so let me try it and he
20 called me back the next day almost in tears                              cking worked. He was
21 so happy. So he gets to keep
22         46.      During that same phone call, VAN CAMP told UC3 that he had mailed false
23 and fraudulent vaccination record cards to approximately fourteen different states. VAN
24 CAMP also told UC3 to delete their communications regarding the false and fraudulent
25 vaccination record cards.
26         47.      VAN CAMP charged UC3 $175 for the false and fraudulent COVID-19
27 vaccination record card, plus $15 for shipping, which UC3 paid via a money order. On or
28 about March 7, 2022, VAN CAMP mailed the false and fraudulent vaccination record card
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 1 to UC3, which UC3 received on or about March 8, 2022. VAN CAMP filled out the false
 2 and fraudulent COVID-19 vaccination record card completely before mailing it to UC3,
 3 inserting the name and date of birth that UC3 provided to VAN CAMP along with false
 4 vaccination information.
 5                    Sale of False and Fraudulent Vaccination Record Card to UC4
 6         48.      On or about April 6, 2022, VAN CAMP offered to sell a false and fraudulent
 7 COVID-19 vaccination record card to UC4, an undercover federal agent located in Seattle,
 8 Washington. UC4 sent a text message to VA
 9 VAN CAMP told UC4 that he n                                      initial, last name and bday,
10                                      ntly provided. VAN CAMP informed UC4 that the false
11 and fraudulent vaccination record card cost $175, plus $15 for shipping, and said that he
12
13 provided an address in Seattle, Washington.
14         49.      On or about April 7, 2022, VAN CAMP sent UC4 a photograph of a
15 completely filled out false and fraudulent vaccination record card, bearing the name and
16 date of birth that UC4 provided to VAN CAMP along with false vaccination information.
17 As with the other false and fraudulent vaccination record cards produced and sold by VAN
18 CAMP, the card VAN CAMP made for UC4 bore the CD                              . On or about
19 April 11, 2022, VAN CAMP mailed the false and fraudulent vaccination record card from
20 Colorado to Seattle, which UC4 received in Seattle on or about April 12, 2022. UC4 paid
21 for the false and fraudulent card using a money order, which UC4 sent from Seattle to
22 Colorado, at the direction of VAN CAMP, on or about April 7, 2022.
23                 Evidence Recovered from VAN CAMP
24         50.      On October 14, 2021, federal agents conducted a trash pull at VAN CAMP
25                                  dence in Parker, Colorado.   Among other evidence, the
26 following items were found in VAN CAMP a
27                                                                           s of individuals,
28 quantities, and dollar amounts; (b) other handwritten notes containing names and dates of
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1 birth, including one                                                     three weeks later for
2                                      COVID-19 vaccination record cards: Photographs of some
3 of these items are shown below:
4
5
6
7
8
9
10
11
12
13
14
15
16
17
                                             Venmo Records
18
           51.      As described above, VAN CAMP told UC2 that UC2 could pay for the false
19
     and fraudulent COVID-19 vaccination record cards through Venmo and provided UC2 the
20
     user-name for that account, which is the same name as Co-Conspirator-1. Records
21
     obtained from Venmo corroborate that the account was created by Co-Conspirator-1.
22
           52.      Based on a review of the transactional data, law enforcement has identified
23
     at least approximately 74 payments made to this Venmo account between approximately
24
     June 22, 2021 and February 14, 2022 for the purpose of purchasing false and fraudulent
25
     COVID-19 vaccination record cards, including payments made from numerous purchasers
26
     who initiated wire transmissions from IP addresses located in the Western District of
27
     Washington. There is probable cause to believe that these approximately 74 payments
28
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 1 were for false and fraudulent vaccination record cards for several reasons, among them:
 2                   a.       They were made by individuals identified as vaccination record card
 3 purchasers based on other evidence, in
 4 shipment records, and photographs of vaccination record cards obtained from VAN
 5                                              idence obtained in the trash pull;
 6                   b.       The notation associated with the payment strongly suggests that it was
 7 for a vaccination record card,
 8 are code names that VAN CAMP instructed buyers to use in connection with the false and
 9 fraudulent vaccination record cards; and/or
10                   c.       The payment amounts are consistent with (or a multiple of) what VAN
11 CAMP charged for false and fraudulent vaccination record cards at various points in time.
12          53.      For example, the Venmo records show that the 74 approximate payments
13 include:
14                   a.       Approximately 26 payments with a
15                                            including the following symbol:        ;
16                   b.       An additional 13 pa
17
18                   c.       Several additional payments with other suspicious notations,
19
20 to be a syringe:       .
21
                                       Electronic Communications
22
            54.      Pursuant to a search warrant, federal agents obtained records and
23
     communications from the Google account that VAN CAMP identified as belonging to him
24
     in his discussions with UC1. A review of these Google records further corroborates that
25
     VAN CAMP, Co-Conspirator-1, and others engaged in a scheme to produce, sell, and
26
     distribute false and fraudulent COVID-19 vaccination record cards.
27
            55.      Examples of communications and
28
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 1 Google account include the following:
 2                  a.     On or about April 28, 2021, an individual sent VAN CAMP a job
 3 listing that included a proof of vaccination requirement, stati
 4                                                      proof of Vac needed? Looks like the card
 5
 6                  b.     On or about June 20, 2021, an individual sent VAN CAMP eleven
 7 names, providing a date of birth for each name, stating in part
 8
 9                  c.     On or about August 10, 2021, VAN CAMP sent an email to Printer-1
10                                                                     In the body of the message,
11
12                  d.     On or about August 23, 2021, VAN CAMP received a message with
13                                                     ontaining 22 names, providing a birth date
14 for each name. Listed next to each name was either two specific dates (three weeks apart
15
16                  e.     On or about September 7, 2021, VAN CAMP sent an email to Printer-
17                                                                          of the message, VAN
18                                       of the Restaurant Gift Card
19 to Printer-1 sent that same day, VAN CAMP wr
20 and attached the file of the blank COVID-19 vaccination record card that VAN CAMP
21 obtained from Co-Conspirator-1.
22                  f.     On or about September 7, 2021, VAN CAMP received an email with
23                                                                             names and dates of
24
25                  g.     On or about November 8, 2021, VAN CAMP received an email
26
27                                                     to say that she heard about my Restaurant
28
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 1         56.                                                      ount records include dozens of
 2 photographs of COVID-19 vaccination record cards that are completely filled out and
 3 written in handwriting that resembles the same handwriting used on the false and fraudulent
 4 vaccination record cards that VAN CAMP sold to the undercover agents. The vaccination
 5 record cards depicted in these photographs appear to have been produced using the blank
 6 COVID-19 vaccination record card that VAN CAMP said he obtained from Co-
 7 Conspirator-1, per the April 14, 2021 email described above.
 8         57.      Moreover, the Google records also contain a significant number of mail
 9 delivery receipts and confirmations, which in many instances list the last name and city of
10 individuals for whom, based on additional evidence (e.g., Venmo transactions, electronic
11 communications, trash pull items), there is probable cause to believe purchased false and
12 fraudulent COVID-19 vaccination record cards from VAN CAMP and Co-Conspirator-1,
13 including Buyer-1, Buyer-2, and other purchasers in the Western District of Washington
14 and elsewhere.
15
16         58.      Effective on or about March 15, 2022, HHS registered the trademark for the
17                                                        in the United States Patent and Trademark
18 Office, pursuant to Registration Number 6672285
19                                                     ices to which the trademark applies.
20         59.      As described above, on or about April 11, 2022, VAN CAMP mailed a false
21 and fraudulent COVID-19 vaccination record card to UC4 to a Seattle address in the
22 Western District of Washington, in exchange for a $175 fee, plus $15 for shipping, paid by
23 UC4 via money order. The false and fraudulent COVID-19 vaccination record card that
24 VAN CAMP transferred to UC4 contained
25                                          CONCLUSION
26         60.      Based on the above facts, I respectfully submit that there is probable cause
27 to believe that ROBERT VAN CAMP did knowingly and intentionally conspire and agree
28 with Co-Conspirator-1 and others, known and unknown, to defraud the United States by
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 1 impairing, impeding, obstructing, and defeating through deceit, craft, trickery, and
 2 dishonest means, the lawful government functions of the United States Department of
 3 Health and Human Services and the Centers for Disease Control and Prevention, a
 4 department and agency, respectively, of the United States, in the administration and
 5 distribution of COVID-19 vaccines and COVID-19 vaccination record cards, in violation
 6 of Title 18, United States Code, Section 371.
 7          61.      Based on the above facts, I respectfully submit that there is probable cause
 8 to believe that ROBERT VAN CAMP did intentionally traffic in goods, specifically a false
 9 and fraudulent COVID-19 vaccination record card, knowingly using a counterfeit mark,
10 namely U.S. Trademark Registration 6672285, on and in connection with such goods, in
11 violation of Title 18, United States Code, Section 2320(a)(1).
12
13
                                                          LUSILLA PACHECO, Complainant
14                                                        Special Agent, HHS-OIG
15
            The above-named agent provided a sworn statement attesting to the truth of the
16
     contents of the foregoing affidavit, and based on the Complaint and Affidavit, the Court
17
     hereby finds that there is probable cause to believe the Defendant committed the offenses
18
     set forth in the Complaint.
19
            Dated this              day of April, 2022.
20
21                                                        BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
22
23
24
25
26
27
28
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